   Case 2:16-cv-00064-MHT-SRW Document 111 Filed 08/28/19 Page 1 of 1




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


SHERMAN ANTWAN BROADHEAD,          )
                                   )
     Plaintiff,                    )
                                   )         CIVIL ACTION NO.
     v.                            )           2:16cv64-MHT
                                   )
KENDRICK BOYD, Sgt.,               )
et al.,                            )
                                   )
     Defendants.                   )

                                ORDER

    It is ORDERED that, by 8:00 a.m. on August 29,

2019, defendants are to file a response to plaintiff’s

motion in limine (doc. no. 110).

    DONE, this the 28th day of August, 2019.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
